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UNITED STATES DISTRIGT COURT
DISTRICT OF NEW JERSEY

                                                  x

DAVID HAZAN,                                            CivilAction No.:


                                 Plaintiff,
               -against-                                COMPLAINT FOR VIOLATIONS
                                                        OF THE TELEPHONE
                                                        CONSUMER PROTECTION ACT
WELLS FARGO & COMPANY

                                 Defendant(s).          DEIT'fAND FOR JURY TRIAL




                         TNTRODUCTTONIPRELT MTNARY STATEMENT


       Plaintiff DAVID HAZAN ("Plaintiff"), by and through his attorney,   M   Harvey

Rephen & Associates, P.C., by Edward B. Geller, Esq., P.C., Of Counsel, as and for his

Complaint against the Defendant WELLS FARGO & COMPANY , (hereinafter referred

to as Defendant(s)), respectfully sets forth, complains and alleges, upon information and

belief, the following:


                         r   NTR9DUCTTON/PRE LtMr NARY STATEME NT

       1.      Plaintiff brings this action on his own behalf for damages and declaratory

and injunctive relief arising from Defendant's violation(s) under Title 47 of the United

States Code, 5227 commonly known as the Telephone Consumer Protection Act (TCPA).

       2.      Defendant is subject to, and required to abide by, the laws of the United

States and the State of New Jersey, which include the Telephone Consumer Protection

Act of 1991,47 U.S.C. 5227, et seq. ("TCPA') and its related regulations, including 47
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C.l R S64.1200     ("TCPA Regulations"), as well as the opinions, regulations and orders

 issued by the Federal Communications Commission to implement and enforce the

TCPA, the telemarketing regulations issued by the FederalTrade Commission, 16

 c.F.R. $310.4(dX2).



                                          PARTIE$

       3.      Plaintiff DAVID HAZAN is a resident of the $tate of New Jersey,

residing at 9 Sequoia Street, Lakewood, NJ 0870'1.

       4.       Defendant (s), wells Fargo & company, is a california company

and has a Corporate Headquarters located at42} Montgomery Street,

San Francisco, CA 94163.




                                JURISDICTION AND VENUE

        S.      The Court has jurisdiction over this matter pursuant to 29 USC $1331 and

 AB U.S.C.   $2201. lf applicable, the Court also has pendent jurisdiction over the state law

 claims in this action pursuant to 28 U.S.-9. $1367(a).

        G.      Venue is proper in this judicial district pursuant to 28 U.S.C. $ 1391(bX2).

                                 FACTpAL ALLEGATIONS

        7.      Plaintffi repeats, reiterates and incorporates the allegations contained in

 paragraphs numbered "l" through "6" herein with the same force and effect as if the same

 were set forth at length herein.
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       8.     On or about March 21, 2016, Defendant began communicating with the

Pldintiff by placing auto dialed phone calls to the Plaintiffs cell phone number of 732-245-

2122, and leaving messages.

      9.      On March 21, 2016 the Plaintiff called Defendant and was connected with

a male representative named Salvador.

       10.    The representative asked for the Plaintiffs name and phone number.

       11.    The Plaintiff gave his name and the representative asked again for the

phone number.

       12.    The Plaintiff stated he did not have it.

       13.    The representative asked again for the number associated with the account

so he could look up the information.

       14.    The Plaintiff gave the representative his number and stated that he did not

want to receive any more calls to his cell phone.

       15"    The representative said 'All right sir "and the call was concluded.

       16.    Since the conclusion       of the conversation with the Defendant's
representative and the request by Plaintiff to have the phone calls stop the Plaintiff has

received at least 1402 calls on his cell phone and 20 voicemails.

                               F|RST CAU$E OF ACTION
                                (Violations of the TCPA)

       17.    Plaintiff repeats, reiterates and incorporates the allegations contained in

paragraphs numbered "1' through "16" herein with the same force and effect as if the

same were set forth at length herein.

       18.   According to the Telephone Consumer Protection Act 47 USC

S227(bXAXiii), "lt shall be unlawfulfor any person within the United States, or any
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person outside the United States if the recipient is within the United States (A) to make

an! call (other than a call made for emergency purposes or made with the prior consent

of the called party) using any automatic telephone dialing system or an artificial or pre-

recorded voice-- (iii) to any telephone number assigned to a paging service, cellular

telephone service, specialized mobile radio service, or other radio common carrier

service, or any service for which the called party is charged for the call, unless such call

us made solely to collect a debt owed to or guaranteed by the United States."

       19.    lt has been determined that the statute language adding "or" any service

for which the called party is charged, is not accurately interpreted to require that Plaintiff

must claim that Defendant's calls incurred charges. See Breslow c. Wp{s Faroa Bank.

N.A.857 F. Supp 2d 1316,1319 (S.D. F\a.2012) and Cavero v. Franklin Collection

5eru., \nc.,2A12WL279448 (S.D. F\a.2012). A number of Courts have addressed the'

issue of a Plaintiff being charged with all agreeing that the TCPA does not require a

Plaintiff who received calls on hislher cell phone to allege that he/she was charged for

the call. For example,in Manno v.Healthcare Revenue Recovery Gm., LL0,289 F.R.D.

674 (S.D. Fla. 2013), the Court held that "The TCPA does not require the plaintiff to be

'charged for' the calls in order to have standing to sue." ln Osorio v, $,tate Farn Bank.

F.S,B., 746 F.3d 1242 (11th Cir. 20141, the Court stated: lf the phrase'any service for

which the called party is charged for the call' requires that the party be charged per call

for the 'paging service, cellular telephone service, specialized mobile radio service, or

other radio common carrier service' in order for the party to prohibit autodialed calls,

then the listing of these services would be superfluous because they are already

included under them 'any service for which the called party is charged.' On the other
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hand, reading 'any service for which the called party is charged for the call' as an

additional item beyond any call to a 'paging service, cellular telephone service,

specialized mobile radio service, or other common carrier service,' regardless of

whether the called party is charged, gives independent meaning to each term."

       20.    lt is thus clear from the plain language of the TCPA, and its considerable

body of resultant case law that the TCPA is violated when a cellular telephone is called

with an automatic dialer without consent, even if no charges are alleged or incurred.

       21.    With the autodialed calls to Plaintiffs telephone commencing on or about

Marr,tr 21,2A16 and continuing at a rate of approximately 1402 times thereafter, the

Defendant violated various provisions of the TCPA, including but not limited to 47 USC

$227(bXAXiii).


       22.    The Defendant, having been informed that Plaintiff requested that no

further calls be received, willfully violated the TCPA at least (1402) times.


       23.    Pursuant to the TCPA Omnibus Declaratory Ruling and Order, July 2015,

paragraphs 138 and 139, communications from banking institutions which are exempt

"...are all intended to address exigent circumstances in which a quick, timely

communication with a consumer could prevent considerable consumer harms from

occurring or, in the case of the remediation calls, could help quickly mitigate the extent

of harm that will occur." Pursuant to Paragraph 139, (3) and (7) "ln light of these

considerations, we adopt the following conditions for each exempted call (voice call or

text message) made by a financial institution:
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     3) voice calls and text messages are strictly limited to purposes
                                                                       discussed in paras.
I    *29'137 above and must not include any telemarketing, cross-marketing,
                                                                            solicitation,
     debt collection, or advertising content;

     7) a financial institution must honor opt-out requests immediately.,,

            24.     Defendant is in violation of the TcpA paragraphs 13g (3)
                                                                             for, upon
     information and belief, having used its calls for debt collection
                                                                       and (7), failing to honor
     Plaintiffs desire to opt out of telephone communications despite plaintiffs
                                                                                 clear,
     unequivocaland repeated requests that such automatic calls cease.

            25-     Defendant violated various provisions of the'TCpA, including
                                                                                 but not
    limited to 47 USC $Zz7(bXAXiii).




           26'     Plaintiff hereby respectfully requests a trial by jury for all claims
                                                                                         and issues
    in its complaint to which it is or may be entifled to a jury trial.



                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands judgment from the Defendant
                                                                    as follows:
                  A'      For trebled damages to be awarded to the Plaintiff in accordance

    with the TCPA, for each of the Defendant's willful or knowing
                                                                  violations of the TCpA.

                  B.     A declaration that the Defendant's practices violated the TCpA;

                           C.            For any such other and further relief, as well as

                                         further costs, expenses and disbursements of this

                                         action, as this Court may deem just and proper.
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                May 29,2018




                                    Respectfully submitted,




                                   Edward B. Geller, Esq., p.C., Of Counsel to
                                   M. Harvey Rephen & Associates, p.C.
                                   15 Landing Way
                                   Bronx, New York 10464
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                                    E-Mail:   +;i;i,i"i_;.;,:,,
                                    Attorney for the Plaintiffs,,
                                    DAVID HAZAN




        TO: WELLS FARGO & COMPANY
            420 MONTGOMERY STREET
           SAN FRANC/SCO, CA 94163




       (Via Prescribed Seruice)

       Clerk of the Court,
       united state3 District court, District of New Jersey
       Clarkson S Fisher Building & U.S. Courthouse
       402 East State $treet Room 2AZO
       Trenton, New Jersey 0960g

(Via Electronic Court Fiting)
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     David Hazan, under the penalty of perjury, deposes and says:



             I am   the Plaintiff in the above entitled action. I have read the foregoing
     Complaint and know the contents thereof. The same are true to my knowledge,

     except as to matters therein stated to be alleged on information and belief and

     as to those   matters I believe them to be   true.                  o




                                                                                               IPrinted]
                                                  Plaintiff


     Affirnred before me this   3fl auv nr     AltE                ?0x8




     Notary Public



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